                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12833 Page 1 of 34



                                                                                                                1   TROUTMAN SANDERS LLP
                                                                                                                    Charanjit Brahma, CA Bar No. 204771
                                                                                                                2   charanjit.brahma@troutman.com
                                                                                                                    Mark C. Mao, CA Bar No. 236165
                                                                                                                3   mark.mao@troutman.com
                                                                                                                    580 California Street, Suite 1100
                                                                                                                4   San Francisco, CA 94104
                                                                                                                    Telephone: 415.477.5700
                                                                                                                5   Facsimile: 415.477.5710
                                                                                                                6   TROUTMAN SANDERS LLP
                                                                                                                    Christopher Franich, CA Bar No. 285720
                                                                                                                7   chris.franich@troutman.com
                                                                                                                    11682 El Camino Real, Suite 400
                                                                                                                8   San Diego, CA 92130-2092
                                                                                                                    Telephone: 858.509.6000
                                                                                                                9   Facsimile: 858.509.6040
                                                                                                               10   Attorneys for Defendant
                                                                                                                    Pacific Surf Designs, Inc.
                                                                                                               11
                         11682 E L C A M I N O R E A L , S U I T E 400
T ROUTMAN S ANDERS LLP

                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12                         UNITED STATES DISTRICT COURT
                                                                                                               13                       SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                               14

                                                                                                               15   FLOWRIDER SURF, LTD., a                  Case No. 3:15-CV-01879
                                                                                                                    Canadian corporation; and SURF
                                                                                                               16   WAVES, LTD., a company                   MEMORANDUM OF POINTS AND
                                                                                                                    incorporated in the United Kingdom,      AUTHORITIES IN SUPPORT OF
                                                                                                               17                                            DEFENDANT’S RENEWED
                                                                                                                                    Plaintiffs,              MOTION FOR ATTORNEYS’ FEES
                                                                                                               18
                                                                                                                    v.                                       Date:
                                                                                                               19                                            Time:
                                                                                                                    PACIFIC SURF DESIGNS, INC., a            Judge:   Hon. Roger T. Benitez
                                                                                                               20   Delaware corporation,
                                                                                                               21                   Defendant.
                                                                                                               22

                                                                                                               23

                                                                                                               24

                                                                                                               25

                                                                                                               26
                                                                                                               27

                                                                                                               28
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12834 Page 2 of 34



                                                                                                                1
                                                                                                                                                                  TABLE OF CONTENTS
                                                                                                                2

                                                                                                                3   TABLE OF EXHIBITS ................................................................................................................. iv
                                                                                                                    TABLE OF ABBREVIATIONS.................................................................................................... vi
                                                                                                                4
                                                                                                                    I.   INTRODUCTION .............................................................................................................. 1
                                                                                                                5   II.  FACTS ESTABLISHING THE EXCEPTIONAL NATURE OF THIS CASE ................. 2
                                                                                                                6        A.    The ʼ016 Patent ....................................................................................................... 2
                                                                                                                               1.     Plaintiffs Broadly Interpreted Claim Elements In This Court
                                                                                                                7                     Despite PSD Identifying the ʼ589 Patent as Prior Art................................. 2
                                                                                                                8              2.     Plaintiffs Take Inconsistent Positions in the IPR Proceeding And
                                                                                                                                      the PTAB Finds All of the Asserted ’016 Patent Claims
                                                                                                                9                     Unpatentable ............................................................................................... 4
                                                                                                                                        3.     Federal Circuit Summarily Affirms Plaintiffs’ Appeal From the
                                                                                                               10                              PTAB Decision Based Solely on Waived Arguments ................................ 6
                                                                                                               11                       4.     PSD Attempted to Reduce the Needless Expenditure of Fees in
                                                                                                                                               Light of Plaintiffs’ Frivolous and Contradictory Positions ......................... 7
                         11682 E L C A M I N O R E A L , S U I T E 400
T ROUTMAN S ANDERS LLP

                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12                       5.     Plaintiffs Waited Until After the Parties Prepared Expert Reports
                                                                                                                                               Before Informing PSD That They Were Not Seeking Damages on
                                                                                                               13                              the ʼ016 Patent............................................................................................. 9
                                                                                                               14             B.        The ʼ589 Patent ....................................................................................................... 9
                                                                                                                                        1.     “Whitewater” Represents That All Responsive Documents Were
                                                                                                               15                              Produced ...................................................................................................... 9
                                                                                                               16                       2.Plaintiffs Conceal That Plaintiff Flowrider Ceased to Exist for
                                                                                                                                          Eight Months, Forcing PSD to File a Motion to Dismiss ......................... 10
                                                                                                               17   III.      LEGAL STANDARD ....................................................................................................... 12
                                                                                                               18             A.   Attorneys’ Fees Pursuant to 35 U.S.C. § 285 ....................................................... 13
                                                                                                                              B.   Attorneys’ Fees Pursuant to 28 U.S.C. § 1927 ..................................................... 13
                                                                                                               19
                                                                                                                              C.   Court’s Inherent Powers to Sanction Misconduct ................................................. 14
                                                                                                               20   IV.       ARGUMENT .................................................................................................................... 14
                                                                                                               21             A.   PSD Should Be Awarded Its Fees Related to Plaintiffs’ Exceptionally
                                                                                                                                   Weak ʼ016 Patent Claim Under 35 U.S.C. § 285 ................................................. 15
                                                                                                               22                  1.     Plaintiffs’ Position Was Exceptionally Weak ........................................... 15
                                                                                                               23                  2.     Plaintiffs Litigated This Case in an Unreasonable Manner ...................... 18
                                                                                                                              B.  Plaintiffs and Their Counsel Acted in Bad Faith with Regard to the ʼ589
                                                                                                               24                 Patent, so PSD Should Be Awarded Its Fees Under 28 U.S.C. § 1927 ................ 19
                                                                                                               25             C.  The Court Should Exercise Its Inherent Power to Award PSD Its
                                                                                                                                  Attorneys’ Fees, Expert Fees, and Non-Taxable Costs ........................................ 23
                                                                                                               26             D.  PSD Is Reasonably Entitled to an Award of All of Its Fees Expended in
                                                                                                                                  This Case, Including the IPR and Related Appeal ................................................ 23
                                                                                                               27
                                                                                                                    V.        CONCLUSION ................................................................................................................. 25
                                                                                                               28
                                                                                                                                                                                        -i-
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12835 Page 3 of 34



                                                                                                                1                                                TABLE OF AUTHORITIES
                                                                                                                2                                                                                                                              Page(s)
                                                                                                                3   Cases
                                                                                                                4   Amsted Indus. v. Buckeye Steel Castings Co.,
                                                                                                                5     23 F.3d 374 (Fed. Cir. 1994) .....................................................................................................14

                                                                                                                6   B.K.B. v. Maui Police Dep’t,
                                                                                                                       276 F.3d 1091 (9th Cir. 2002)...................................................................................................14
                                                                                                                7
                                                                                                                    Beckman Instruments, Inc. v. LKB Produkter AB,
                                                                                                                8      892 F.2d 1547 (Fed. Cir. 1989) .................................................................................................18
                                                                                                                9   Carlock v. Collins Motor Co.,
                                                                                                               10      No. 04cv0370-J-RBB, 2008 WL 943037 (S.D. Cal. Apr. 7, 2008) ..........................................15

                                                                                                               11   Deep Sky Software, Inc. v. Southwest Airlines Co.,
                                                                                                                       No. 10-cv-1234-CAB-KSC, 2015 WL 11202634 (S.D. Cal. June 1, 2015) .......................20, 25
                         11682 E L C A M I N O R E A L , S U I T E 400
T ROUTMAN S ANDERS LLP

                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12
                                                                                                                    Deep Sky Software, Inc. v. Southwest Airlines Co.,
                                                                                                               13      No. 3:10-cv-1234-CAB-KSC, 2015 WL 10844231 (S.D. Cal. Aug. 19, 2015) .................24, 25
                                                                                                               14   Digital Empire Ltd. v. Compal Elecs. Inc. Grp.,
                                                                                                                       No. 14cv1688-DMS-KSC, 2015 WL 11570939 (S.D. Cal. Dec. 11, 2015),
                                                                                                               15
                                                                                                                       recon. denied, 2016 WL 4385190 (S.D. Cal. Mar. 1, 2016) .........................................14, 20, 23
                                                                                                               16
                                                                                                                    Drone Techs., Inc. v. Parrot S.A.,
                                                                                                               17      No. 2:14-cv-00111-AJS, 2015 WL 4545291 (W.D. Pa. July 21, 2015) ...................................24

                                                                                                               18   Fagundes v. Charter Builders, Inc.,
                                                                                                                       No. C 07-1111, 2008 WL 268977 (N.D. Cal. Jan. 29, 2008) ...................................................20
                                                                                                               19
                                                                                                                    Fink v. Gomez,
                                                                                                               20      239 F.3d 989 (9th Cir. 2001).....................................................................................................14
                                                                                                               21
                                                                                                                    Inventor Holdings, LLC v. Bed Bath & Beyond, Inc.,
                                                                                                               22       876 F.3d 1372 (Fed. Cir. 2017) .................................................................................................15

                                                                                                               23   Kilopass Tech., Inc. v. Sidense Corp.,
                                                                                                                        738 F.3d 1302 (Fed. Cir. 2013) ...........................................................................................13, 24
                                                                                                               24
                                                                                                                    Kilopass Tech. Inc. v. Sidense Corp.,
                                                                                                               25       No. C 10-02066 SI, 2014 WL 3956703 (N.D. Cal. Aug. 12, 2014) .........................................19
                                                                                                               26
                                                                                                                    Lahiri v. Universal Music & Video Distrib. Corp.,
                                                                                                               27      606 F.3d 1216 (9th Cir. 2010)...................................................................................................14

                                                                                                               28

                                                                                                                                                                                    - ii -                                          3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12836 Page 4 of 34



                                                                                                                1   MarcTec, LLC v. Johnson & Johnson,
                                                                                                                      664 F.3d 907 (Fed. Cir. 2012) .............................................................................................14, 23
                                                                                                                2
                                                                                                                    Octane Fitness, LLC v. ICON Health & Fitness, Inc.,
                                                                                                                3      134 S. Ct. 1749 (2014) ........................................................................................................13, 15
                                                                                                                4
                                                                                                                    Oplus Techs., Ltd. v. Vizio, Inc.,
                                                                                                                5      782 F.3d 1371 (Fed. Cir. 2015) .................................................................................................17

                                                                                                                6   Phonometrics, Inc. v. Westin Hotel Co.,
                                                                                                                       350 F.3d 1242 (Fed. Cir. 2003) .................................................................................................21
                                                                                                                7
                                                                                                                    Primus Auto Fin. Servs. v. Batarse,
                                                                                                                8      115 F.3d 644 (9th Cir. 1997).....................................................................................................15
                                                                                                                9
                                                                                                                    Raymond v. Blair,
                                                                                                               10      No. 09-5507, 2012 WL 1135911 (E.D. La. Apr. 4, 2012) ..................................................16, 17

                                                                                                               11   Schreiber Foods, Inc. v. Beatrice Cheese, Inc.,
                         11682 E L C A M I N O R E A L , S U I T E 400




                                                                                                                       402 F.3d 1198 (Fed. Cir. 2005) .....................................................................................20, 22, 23
T ROUTMAN S ANDERS LLP

                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12
                                                                                                                    SPH Am., LLC v. AT&T Mobility LLC,
                                                                                                               13      No. 3:13-cv-2318-CAB-KSC, 2017 WL 3021025 (S.D. Cal. July 14, 2017) ..........................19
                                                                                                               14   Sub Zero Franchising, Inc. v. Frank NYE Consulting, LLC,
                                                                                                               15      No. 2:15-cv-821-BSJ, 2018 WL 1999093 (D. Ut. Apr. 27, 2018) ...........................................22

                                                                                                               16   Takeda Chem. Indus. v. Mylan Labs.,
                                                                                                                       549 F.3d 1381 (Fed. Cir. 2008) .................................................................................................14
                                                                                                               17
                                                                                                                    Tech. Props. Ltd. LLC v. Canon Inc.,
                                                                                                               18      No. C 14-3640 CW, 2017 WL 2537286 (N.D. Cal. Jan. 26, 2017) ..........................................16
                                                                                                               19   Therasense, Inc. v. Becton, Dickenson & Co.,
                                                                                                                       745 F.3d 513 (Fed. Cir. 2014) ...................................................................................................24
                                                                                                               20

                                                                                                               21   Statutes

                                                                                                               22   28 U.S.C. § 1927 .........................................................................................14, 15, 19, 20, 21, 23, 26

                                                                                                               23   35 U.S.C. § 285 .................................................................................................13, 14, 15, 19, 23, 26

                                                                                                               24   Other Authorities
                                                                                                               25   Fed. R. Civ. P. 54 ......................................................................................................................13, 26
                                                                                                               26   Local Rule 3.2 ...........................................................................................................................11, 12
                                                                                                               27
                                                                                                                    Local Rule 5.4 ...................................................................................................................................1
                                                                                                               28

                                                                                                                                                                                         - iii -                                               3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12837 Page 5 of 34



                                                                                                                1                             TABLE OF EXHIBITS
                                                                                                                2
                                                                                                                                 EXHIBIT                              DESCRIPTION
                                                                                                                3
                                                                                                                                                           Appendix G to Plaintiffs’ Disclosure of
                                                                                                                4                                          Asserted Claims and Infringement
                                                                                                                                      A                    Contentions Pursuant to Patent Local
                                                                                                                5                                          Rules 3.1 & 3.2, dated December 16,
                                                                                                                                                           2015
                                                                                                                6
                                                                                                                                                           Exhibit B-3 to PSD’s Invalidity
                                                                                                                7                     B                    Contentions pursuant to Patent Local
                                                                                                                                                           Rule 3-3, dated February 19, 2016
                                                                                                                8
                                                                                                                                      C                    Transcript of the Claim Construction
                                                                                                                9                                          Hearing on September 1, 2016
                                                                                                               10                     D                    PSD’s IPR Petition of U.S. Patent No.
                                                                                                                                                           8,088,016, dated July 18, 2016
                                                                                                               11
                                                                                                                                                           “Intellectual Property Sublicense
                         11682 E L C A M I N O R E A L , S U I T E 400
T ROUTMAN S ANDERS LLP




                                                                                                                             E – Filed Under Seal          Agreement” (FRSW0001623–
                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12
                                                                                                                                                           FRSW0001649)
                                                                                                               13
                                                                                                                                                           Plaintiff Surf Waves, Ltd.’s Response
                                                                                                               14                     F                    to PSD’s IPR Petition, dated April 17,
                                                                                                                                                           2017
                                                                                                               15
                                                                                                                                      G                    PTAB’s Record of Oral Hearing on
                                                                                                               16                                          November 8, 2017
                                                                                                               17                     H                    Transcript of the deposition of Glen
                                                                                                                                                           Stevick, Ph.D., dated June 15, 2017
                                                                                                               18
                                                                                                                                      I                    PTAB’s Final Written Decision, dated
                                                                                                               19                                          January 17, 2018
                                                                                                               20                     J                    Email from PSD’s counsel to Plaintiffs’
                                                                                                                                                           counsel, dated July 15, 2016
                                                                                                               21
                                                                                                                                      K                    Email from Plaintiffs’ counsel to PSD’s
                                                                                                               22                                          counsel, dated July 16, 2016
                                                                                                               23                     L                    Email from PSD’s counsel to Plaintiffs’
                                                                                                                                                           counsel, dated July 18, 2016
                                                                                                               24
                                                                                                                                     M                     “Certificate of Amalgamation”
                                                                                                               25                                          (FRSW0001617)
                                                                                                               26                     N                    Email from Plaintiffs’ counsel to
                                                                                                                                                           German counsel, dated May 12, 2015
                                                                                                               27
                                                                                                                                      O                    Statutory Declaration of Tim
                                                                                                               28

                                                                                                                                                       - iv -                         3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12838 Page 6 of 34



                                                                                                                1                                         Kwasnicki filed with the German
                                                                                                                2
                                                                                                                                                          Patent Office on July 15, 2015

                                                                                                                3                     P                   Email from Plaintiffs’ counsel to PSD’s
                                                                                                                                                          counsel, dated February 3, 2016
                                                                                                                4                                         Declaration by Tim Kwasnicki filed
                                                                                                                5
                                                                                                                                     Q                    with the UK Patent Office on March
                                                                                                                                                          31, 2016
                                                                                                                6                                         Verification of Plaintiffs’ Supplemental
                                                                                                                7                    R                    Responses to Defendant’s Second Set
                                                                                                                                                          of Interrogatories (Interrogatory No. 9),
                                                                                                                8
                                                                                                                                                          dated June 30, 2016

                                                                                                                9
                                                                                                                                                          Verification of Second Plaintiffs’
                                                                                                                                                          Supplemental Responses to
                                                                                                               10
                                                                                                                                      S                   Defendant’s Second Set of
                                                                                                                                                          Interrogatories (Interrogatory Nos. 3,
                                                                                                               11
                                                                                                                                                          13-14), dated August 23, 2016
                         11682 E L C A M I N O R E A L , S U I T E 400




                                                                                                                                                          Email from PSD’s counsel to Plaintiffs’
T ROUTMAN S ANDERS LLP

                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12                     T                   counsel, dated April 4, 2017
                                                                                                               13                                         Email from Plaintiffs’ counsel to PSD’s
                                                                                                                                     U                    counsel, dated April 5, 2017
                                                                                                               14

                                                                                                               15

                                                                                                               16

                                                                                                               17

                                                                                                               18

                                                                                                               19

                                                                                                               20

                                                                                                               21

                                                                                                               22

                                                                                                               23

                                                                                                               24

                                                                                                               25

                                                                                                               26
                                                                                                               27

                                                                                                               28

                                                                                                                                                       -v-                            3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12839 Page 7 of 34



                                                                                                                1                         TABLE OF ABBREVIATIONS
                                                                                                                2
                                                                                                                                ABBREVIATION                           REFERENCE
                                                                                                                3
                                                                                                                    PSD                                    Defendant Pacific Surf Designs, Inc.
                                                                                                                4
                                                                                                                    Flowrider                              Plaintiff Flowrider Surf, Ltd.
                                                                                                                5
                                                                                                                    Surf Waves                             Plaintiff Surf Waves, Ltd.
                                                                                                                6
                                                                                                                    ʼ016 Patent                            U.S. Patent No. 8,088,016
                                                                                                                7
                                                                                                                    ʼ589 Patent                            U.S. Patent No. 6,491,589
                                                                                                                8
                                                                                                                    IPR                                    Inter Partes Review
                                                                                                                9
                                                                                                                    PTAB                                   Patent Trial and Appeal Board
                                                                                                               10
                                                                                                                    FWD                                    Final Written Decision
                                                                                                               11
                         11682 E L C A M I N O R E A L , S U I T E 400
T ROUTMAN S ANDERS LLP

                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12

                                                                                                               13

                                                                                                               14

                                                                                                               15

                                                                                                               16

                                                                                                               17

                                                                                                               18

                                                                                                               19

                                                                                                               20

                                                                                                               21

                                                                                                               22

                                                                                                               23

                                                                                                               24

                                                                                                               25

                                                                                                               26
                                                                                                               27

                                                                                                               28

                                                                                                                                                       - vi -                           3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12840 Page 8 of 34



                                                                                                                1   I.    INTRODUCTION
                                                                                                                2         Defendants Pacific Surf Designs, Inc. and Flow Services, Inc. (collectively,
                                                                                                                3   “PSD”) respectfully resubmit this motion for attorney’s fees and costs pursuant to
                                                                                                                4   the Court’s order (D278).
                                                                                                                5         When this case was filed in 2015, both of Plaintiffs’ causes of action for ’016
                                                                                                                6   and ’589 patent infringement were fundamentally flawed. At various points,
                                                                                                                7   Plaintiffs frivolously extended the litigation by concealing facts that would have
                                                                                                                8   ended this case. For the ’016 patent, Plaintiff took inconsistent claim construction
                                                                                                                9   positions to hide the fact that the overly broad constructions it needed for
                                                                                                               10   infringement doomed it on invalidity. Those inconsistencies were exposed when PSD
                                                                                                               11   was required to file an inter partes review petition—leading Plaintiffs to make an
                         11682 E L C A M I N O R E A L , S U I T E 400
T ROUTMAN S ANDERS LLP




                                                                                                                    about-face and advance narrower constructions—under the PTAB’s “broadest
                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12

                                                                                                               13   reasonable interpretation” standard—than it had successfully argued in this Court.
                                                                                                               14   The IPR ended with the PTAB canceling all asserted claims of the ’016 patent based
                                                                                                               15   in part on Plaintiffs’ own asserted ’589 patent. On appeal, the weakness of Plaintiffs’
                                                                                                               16   argument was shown by their need to rely on completely new, waived arguments,
                                                                                                               17   leading to a summary affirmance by the Federal Circuit (Fed. Cir. 18-1680; D74).
                                                                                                               18         Plaintiffs’ and their counsel’s actions with respect to their ’589 patent cause of
                                                                                                               19   action are similarly worthy of sanction. Plaintiff Flowrider never had standing,
                                                                                                               20   having licensed away all of its rights on the same day it received them and had been
                                                                                                               21   “amalgamated” into nonexistence. Plaintiffs’ counsel’s statements show that it knew
                                                                                                               22   of this license arrangement from the outset and of Flowrider’s nonexistence for eight
                                                                                                               23   months before they were forced to confess it. Instead of promptly disclosing these
                                                                                                               24   facts, and Flowrider’s defective standing, Plaintiffs deliberately misled PSD and this
                                                                                                               25   Court by selectively disclosing only some relevant license agreements (while
                                                                                                               26   representing that production was complete), filing false declarations stating that
                                                                                                               27   Flowrider employed individuals after it ceased to exist, and claiming that contrary
                                                                                                               28   statements in license agreements were “inadvertent errors.” All of these actions

                                                                                                                                                             -1-                             3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12841 Page 9 of 34



                                                                                                                1   demonstrate bad faith and counsel’s abuse of their role as officers of the Court.
                                                                                                                2         Sanctions are needed to deter such exceptional and egregious misconduct.
                                                                                                                3   II.   FACTS ESTABLISHING THE EXCEPTIONAL NATURE OF THIS
                                                                                                                          CASE
                                                                                                                4

                                                                                                                5         Plaintiffs filed this action—their second suit against PSD—on Aug. 24, 2015,
                                                                                                                6   alleging infringement of the ʼ016 Patent and ʼ589 Patent. D1.
                                                                                                                7         On July 18, 2016, PSD filed an IPR petition seeking to invalidate all asserted
                                                                                                                8   claims of the ʼ016 Patent, which the PTAB did on Jan. 17, 2018. The Court entered
                                                                                                                9   final judgment on May 8, 2018, finding that “Plaintiff’s patent is unenforceable and
                                                                                                               10   judgment is entered for Defendant for the entire action.” D240. On May 17, 2019,
                                                                                                               11   the Federal Circuit affirmed the PTAB’s invalidation of the ʼ016 Patent. (Fed. Cir.
                         11682 E L C A M I N O R E A L , S U I T E 400
T ROUTMAN S ANDERS LLP




                                                                                                                    18-1680; D74.) On July 1, 2019, the Federal Circuit dismissed Plaintiffs’ appeal from
                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12

                                                                                                               13   this Court’s judgement as moot. (Fed. Cir. 18-1983; D52).
                                                                                                               14         The Court also granted PSD’s motion (D102) to dismiss Plaintiffs’ cause of
                                                                                                               15   action asserting the ’589 Patent for lack of standing. D222.
                                                                                                               16         A.     The ʼ016 Patent
                                                                                                               17                1.     Plaintiffs Broadly Interpreted Claim Elements In This
                                                                                                                                        Court Despite PSD Identifying the ʼ589 Patent as Prior Art
                                                                                                               18
                                                                                                                          The ʼ016 Patent is entitled “Half-pipe Water Ride,” and, requires “a second
                                                                                                               19
                                                                                                                    curved sidewall extending substantially upwardly from another edge of the middle
                                                                                                               20
                                                                                                                    section opposite the first curved side.” Plaintiffs’ original infringement contentions
                                                                                                               21
                                                                                                                    (Dec. 16, 2015), accused PSD’s Supertube product of infringement, taking a broad
                                                                                                               22
                                                                                                                    view of the term “opposite” sidewalls. Ex. A, 13. But a side-by-side comparison with
                                                                                                               23
                                                                                                                    ʼ589 Patent Fig. 4A—prior art to the ʼ016 Patent—confirm that Plaintiff’s
                                                                                                               24
                                                                                                                    interpretation of “opposite” sidewalls read directly on the prior art:
                                                                                                               25

                                                                                                               26
                                                                                                               27

                                                                                                               28

                                                                                                                                                              -2-                            3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12842 Page 10 of 34



                                                                                                                1
                                                                                                                2

                                                                                                                3

                                                                                                                4

                                                                                                                5

                                                                                                                6

                                                                                                                7
                                                                                                                       PSD’s Supertube (Ex. A, 13)                           ʼ589 Patent, Fig. 4A
                                                                                                                8
                                                                                                                9         In light of Plaintiffs’ broad infringement contentions, PSD identified in its
                                                                                                               10   Feb. 19, 2016 invalidity contentions how the ʼ589 Patent disclosed every single
                                                                                                               11   element of the asserted claims of the later-filed ʼ016 Patent. Ex. B.
                         11682 E L C A M I N O R E A L , S U I T E 400
T ROUTMAN S ANDERS LLP




                                                                                                                          PSD then argued for constructions of ʼ016 Patent claim terms “opposite,”
                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12

                                                                                                               13   “sidewall,” and “middle section” that were consistent with the patent’s narrow
                                                                                                               14   teachings and, if adopted, would have confirmed noninfringement. Specifically
                                                                                                               15   regarding “opposite,” PSD argued:
                                                                                                               16                Plaintiffs’ … have a distorted view of that “plain meaning,”
                                                                                                                                 [of “opposite”] because they allege that connected,
                                                                                                               17
                                                                                                                                 adjacent walls of PSD’s accused Supertube product are
                                                                                                               18                “opposite” each other.
                                                                                                               19   D38, 21:20–23. See also D47, 7:18–20. Similarly, PSD argued that the ʼ016 Patent
                                                                                                               20   specification required that the “sidewall” “is a wall extending along an entire side of
                                                                                                               21   the activity section.” D38, 16:8–10 (emphasis added). Thus, PSD contended that
                                                                                                               22   “middle section” be rectangular because it was bounded on four sides by two opposite
                                                                                                               23   sidewalls (extending along an entire side) and a water delivery section opposite a
                                                                                                               24   dewatering section. Id. at 16:16–25.
                                                                                                               25         Plaintiffs continued to argue vehemently against PSD’s constructions despite
                                                                                                               26   the clear invalidity issues. For example, Plaintiffs argued that the sidewalls had “[n]o
                                                                                                               27   other limitations” beyond being traversable, see D39, 18:22–26, and that “[t]he
                                                                                                               28   Applicant never require[d] sidewalls to extend the entire side. . .” D43, 7:20–22. See

                                                                                                                                                              -3-                            3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12843 Page 11 of 34



                                                                                                                1   also Ex. C, 44:5–24. Regarding “middle section” and “opposite,” they argued that
                                                                                                                2   “non-parallel sidewalls are explicitly illustrated in the ʼ016 Patent, contrary to
                                                                                                                3   Defendant’s proposed construction,” (D43, 9:15–28) and accordingly, the “middle
                                                                                                                4   section” need not be rectangular because sidewalls do not have to be parallel to one
                                                                                                                5   another. Id. at 7:23–8:2.
                                                                                                                6         The Court construed the claims on Sept. 19, 2016, largely adopting Plaintiffs’
                                                                                                                7   broad claim interpretations. The Court rejected PSD’s contention that the sidewalls
                                                                                                                8   needed to extend along the entire edge, finding that edges are not strictly defined.
                                                                                                                9   D88, 13:21–23 (emphasis in original; citation omitted).
                                                                                                               10                2.     Plaintiffs Take Inconsistent Positions in the IPR Proceeding
                                                                                                                                        And the PTAB Finds All of the Asserted ’016 Patent Claims
                                                                                                               11                       Unpatentable
                         11682 E L C A M I N O R E A L , S U I T E 400
T ROUTMAN S ANDERS LLP




                                                                                                                          PSD prepared an IPR petition addressing all ʼ016 Patent asserted claims before
                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12

                                                                                                               13   the Court construed the claims. Ex. D. Therein, PSD proposed constructions of
                                                                                                               14   “opposite,” “middle section,” and “the first curved side” consistent with Plaintiffs’
                                                                                                               15   proposed constructions here—even noting for “opposite” that the “interpretation also
                                                                                                               16   is consistent with [Plaintiffs’] infringement contentions in which it takes the position
                                                                                                               17   that alleged sidewalls need not be parallel to be opposite, merely on the other side.”
                                                                                                               18   Id. at 153. PSD sought a finding of invalidity based in part on the ʼ589 Patent. Id. at
                                                                                                               19   138. Its remaining grounds of invalidity also included two other patents listing
                                                                                                               20   Thomas Lochtefeld as inventor—U.S. Patent Nos. 6,676,530 and 5,738,590—both
                                                                                                               21   of which were purportedly licensed to Plaintiff Flowrider. Id.; Ex. E, 214.
                                                                                                               22         In the IPR, Plaintiff Surf Waves took narrow claim construction positions that
                                                                                                               23   were diametrically opposed to its positions here.1 In particular, Plaintiffs suddenly
                                                                                                               24
                                                                                                                    1
                                                                                                                      Although Plaintiff Surf Waves never formally asked the PTAB to construe claim
                                                                                                               25
                                                                                                                    terms, they read in extra, narrowing limitations when they analyzed the prior art for
                                                                                                               26   invalidity. Ex. F, 236–40. Because Surf Waves did not preserve its claim construction
                                                                                                                    arguments before the PTAB, PSD contended that Surf Waves has waived the right to
                                                                                                               27
                                                                                                                    raise such issues on appeal of the FWD in the IPR. See D236. The CAFC apparently
                                                                                                               28   agreed, in entering its summary affirmance. See supra.
                                                                                                                                                              -4-                            3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12844 Page 12 of 34



                                                                                                                1   alleged that the ʼ589 Patent does not disclose an “activity section including . . . a first
                                                                                                                2   curved sidewall extending substantially upwardly from an edge of the middle
                                                                                                                3   section” and “a second curved sidewall extending substantially upwardly from
                                                                                                                4   another edge of the middle section” as required in the ʼ016 Patent claims because
                                                                                                                5   those terms had narrow meanings. Ex. F, 236.
                                                                                                                6         For example, beyond being traversable, Surf Waves now alleged that
                                                                                                                7   “sidewalls” of the ʼ016 Patent required that there be no downward or horizontal
                                                                                                                8   portions—a position that directly contradicts its infringement contentions. Id. Surf
                                                                                                                9   Waves furthered this “downward or horizontal” portion theory by “strictly defining”
                                                                                                               10   the edge—contrary to its position here, and this Court’s construction, that the edge
                                                                                                               11   not be strictly defined—as shown in the diagram below:
                         11682 E L C A M I N O R E A L , S U I T E 400
T ROUTMAN S ANDERS LLP

                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12

                                                                                                               13

                                                                                                               14

                                                                                                               15

                                                                                                               16

                                                                                                               17

                                                                                                               18

                                                                                                               19

                                                                                                               20
                                                                                                                    Id. Surf Waves’ counsel admitted this in the IPR trial:
                                                                                                               21
                                                                                                                                 JUDGE MELVIN: . . . [Y]our argument regarding curved
                                                                                                               22
                                                                                                                                 substantially upwardly, it is that the side walls must be
                                                                                                               23                curved upwardly from all points along the edge. Not just
                                                                                                                                 some points along the edge.
                                                                                                               24
                                                                                                                                 MR. SCHINDLER [Surf Waves’ Counsel]:                   Correct.
                                                                                                               25                That’s exactly what we are arguing.
                                                                                                               26   Ex. G, 20:5–10 (emphasis added). See also id. at 26:1–6. Surf Waves also adopted
                                                                                                               27   PSD’s claim construction argument—which it opposed here and this Court
                                                                                                               28

                                                                                                                                                               -5-                              3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12845 Page 13 of 34



                                                                                                                1   rejected—that the sidewalls needed to extend along the entirety of the edge:
                                                                                                                2                JUDGE MELVIN: . . . [D]oes the entire edge have to be
                                                                                                                                 curved substantially upwardly?
                                                                                                                3
                                                                                                                                 MR. SCHINDLER: … Our argument would be because it
                                                                                                                4                says substantially upward from an edge and it says a side
                                                                                                                5                wall, it doesn’t say a portion of the side wall, it would be
                                                                                                                                 our position that you also can’t take just a portion of it.
                                                                                                                6                Again, if you go back to our figures, our figures all show
                                                                                                                7                not a portion. All of it rises.
                                                                                                                8   Id. at 27:19–28:2 (emphasis added). Moreover, further contradicting Plaintiffs’

                                                                                                                9   infringement contentions, Surf Waves’ proffered expert took the position that the

                                                                                                               10   sidewalls shown in Fig. 4A of the ʼ589 Patent—which are not parallel to each other—

                                                                                                               11   are not “opposite.” Ex. H, 91:16–22.
                         11682 E L C A M I N O R E A L , S U I T E 400
T ROUTMAN S ANDERS LLP




                                                                                                                          In its FWD dated Jan. 17, 2018, the PTAB rejected Surf Waves’ belated
                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12

                                                                                                               13   attempt to narrow the construction of these key claim terms of the ʼ016 Patent,

                                                                                                               14   explaining that:

                                                                                                               15                [W]e construe “extending substantially upwardly” as
                                                                                                                                 encompassing a sidewall that, at some point, extends above
                                                                                                               16                the edge of middle section corresponding to the side wall.
                                                                                                               17                Because the sidewalls identified by Petitioner [PSD] in
                                                                                                                                 Lochtefeld 589 each have a portion that rises up from the
                                                                                                               18                plane of the middle portion, they extend substantially
                                                                                                               19                upwardly from the middle portion as claimed.
                                                                                                               20   Ex. I, 534. Consequently, the Board found all of the claims of the ʼ016 Patent that

                                                                                                               21   were asserted in this litigation unpatentable as anticipated and/or obvious in light of

                                                                                                               22   the ’589 patent. Id at 572

                                                                                                               23                3.    Federal Circuit Summarily Affirms Plaintiffs’ Appeal From
                                                                                                                                       the PTAB Decision Based Solely on Waived Arguments
                                                                                                               24
                                                                                                                          Plaintiff Surf Waves appealed the PTAB’s Decision. But realizing that its IPR
                                                                                                               25
                                                                                                                    arguments were fatally flawed, Surf Waves instead mounted its appeal based on
                                                                                                               26
                                                                                                                    arguments that were frivolous, untimely and/or waived. (Surf Waves Op. Br., Fed.
                                                                                                               27
                                                                                                                    Cir. Appeal No. 2018-1680 D34). For example, for the first time on appeal, Surf
                                                                                                               28

                                                                                                                                                             -6-                            3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12846 Page 14 of 34



                                                                                                                1   Waves argued for a construction of “curved sidewall extending substantially
                                                                                                                2   upwardly from [an/another] edge of the middle section,” and alleged, without any
                                                                                                                3   proper citation or support, that the Board’s construction of that term was inconsistent
                                                                                                                4   with the ’016 Patent’s prosecution history. (Op. Br., ECF No. 34 at 12-17.) PSD was
                                                                                                                5   then required to dedicate several pages of its Response appeal brief to detailing and
                                                                                                                6   identifying all of the waived arguments upon which Surf Waves relied as well as the
                                                                                                                7   flaws in its new, meritless claim construction arguments. (Resp. Br., D48 at 30-35.)
                                                                                                                8   At oral argument, the Federal Circuit recognized that Surf Waves had failed to raise
                                                                                                                9   any of the claim construction arguments it was advancing on appeal as the basis for
                                                                                                               10   reversal.
                                                                                                               11                4.     PSD Attempted to Reduce the Needless Expenditure of Fees
                         11682 E L C A M I N O R E A L , S U I T E 400




                                                                                                                                        in Light of Plaintiffs’ Frivolous and Contradictory Positions
T ROUTMAN S ANDERS LLP

                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12
                                                                                                                          On numerous occasions throughout the litigation, PSD sought Plaintiffs’
                                                                                                               13
                                                                                                                    cooperation to mitigate fees in view of the clear invalidity of the ʼ016 Patent. Prior
                                                                                                               14
                                                                                                                    to filing the IPR petition, PSD sent a courtesy copy to Plaintiffs’ counsel, hoping to
                                                                                                               15
                                                                                                                    “spar[e] the parties and the PTAB the time and resources necessary for deciding this
                                                                                                               16
                                                                                                                    issue” and noting that “any alleged damages in this case are trivial.” Ex. J. Plaintiffs
                                                                                                               17
                                                                                                                    refused, complaining that they did not have time to consider the references—even
                                                                                                               18
                                                                                                                    though all cited references were assigned to Plaintiff Flowrider, and most had been
                                                                                                               19
                                                                                                                    included in PSD’s invalidity contentions served five months earlier. Ex. K, 575.
                                                                                                               20
                                                                                                                    From the outset, PSD informed Plaintiffs that it would seek fees if it was forced to
                                                                                                               21
                                                                                                                    expend additional costs and file the IPR. Ex. L, 577.
                                                                                                               22
                                                                                                                          After Plaintiffs refused to drop the ʼ016 Patent, thereby forcing PSD to file its
                                                                                                               23
                                                                                                                    IPR petition, PSD concurrently filed a motion to stay, arguing that the case was at an
                                                                                                               24
                                                                                                                    early stage, the IPR would simplify the case, and Plaintiffs would not be prejudiced:
                                                                                                               25
                                                                                                                                 The truth is that PSD has made a single U.S. sale in its
                                                                                                               26                existence, for a sum that constitutes a fraction of what it
                                                                                                               27                will cost to continue litigating this case. Plaintiffs are
                                                                                                                                 plainly using this litigation to exert settlement pressure
                                                                                                               28

                                                                                                                                                              -7-                            3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12847 Page 15 of 34



                                                                                                                1                on a small, two-person company. . . . Meanwhile,
                                                                                                                2                Plaintiffs voluntarily dropped a previous lawsuit against
                                                                                                                                 PSD two years ago, and then allowed the asserted patents
                                                                                                                3                to go abandoned thereafter, demonstrating a wholesale
                                                                                                                4                indifference to PSD, the patents, and litigation in general.

                                                                                                                5
                                                                                                                    D64, 2:3–11 (emphasis added). Moreover, PSD explained how Plaintiffs’

                                                                                                                6
                                                                                                                    infringement theories formed the basis of PSD’s IPR petition:
                                                                                                                                 [T]he main invalidity ground in the ’016 patent petition is
                                                                                                                7
                                                                                                                                 the ’589 patent, the other patent in suit. . . . And really,
                                                                                                                8                that is the crux of how we find ourselves here. Plaintiffs
                                                                                                                9
                                                                                                                                 have taken egregious infringement positions, attempting to
                                                                                                                                 contort the patents into something resembling what PSD
                                                                                                               10                sells. In the process, Plaintiffs set forth overly broad claim
                                                                                                               11
                                                                                                                                 construction positions to a degree that—if their
                                                                                                                                 constructions are meritorious—their own patents and other
                         11682 E L C A M I N O R E A L , S U I T E 400
T ROUTMAN S ANDERS LLP

                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12                prior art invalidate those claims. This is exactly what PSD
                                                                                                               13
                                                                                                                                 has argued in both petitions, citing Plaintiffs’ own
                                                                                                                                 positions, and how those positions render the patents so
                                                                                                               14                broad as to sweep in numerous prior art references
                                                                                                               15                invalidating the claims. . . . [Plaintiffs] also do not dispute
                                                                                                                                 that the ’589 patent is the main invalidity reference in the
                                                                                                               16                ’016 patent petition.
                                                                                                               17
                                                                                                                    D73, 5:13–6:3 (emphasis in original).
                                                                                                               18
                                                                                                                          Plaintiffs opposed the stay, and the Court denied the motion, noting that the
                                                                                                               19
                                                                                                                    PTAB had not yet decided whether to implement an IPR. D80, 5:3–4.
                                                                                                               20
                                                                                                                          PSD reiterated its request for a stay on Jan. 31, 2017, after the PTAB instituted
                                                                                                               21
                                                                                                                    IPR of all asserted claims of the ʼ016 Patent. D142, D142-1. Plaintiffs once again
                                                                                                               22
                                                                                                                    opposed, forcing PSD to again brief the issue. Id. And as PSD again explained,
                                                                                                               23
                                                                                                                    “Plaintiffs’ opposition also seeks to continue litigating the ‘016 patent—through
                                                                                                               24
                                                                                                                    trial no less—while implicitly conceding all that work (depositions, expert
                                                                                                               25
                                                                                                                    depositions, pre-trial, trial) will be for naught if the ‘016 patent is cancelled by the
                                                                                                               26
                                                                                                                    PTAB. This is a tremendous amount of unnecessary resources to expend, particularly
                                                                                                               27
                                                                                                                    where the PTAB’s Final Written Decision is required by Jan. 30, 2018.” D180, 9:7–
                                                                                                               28

                                                                                                                                                              -8-                              3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12848 Page 16 of 34



                                                                                                                1   16 (emphasis added; citation omitted). But during the four months between when
                                                                                                                2   PSD filed its renewed stay request (Jan. 30, 2017) and the Court granted it (May 26,
                                                                                                                3   2017), PSD was forced to finish fact discovery and begin expert discovery on the
                                                                                                                4   ’016 Patent. And the lingering ’016 Patent cause of action, even though stayed, was
                                                                                                                5   the basis for the Court’s denial of PSD’s motion for partial final judgment back in
                                                                                                                6   June 2017. (D228 at 2.)
                                                                                                                7                5.    Plaintiffs Waited Until After the Parties Prepared Expert
                                                                                                                                       Reports Before Informing PSD That They Were Not Seeking
                                                                                                                8                      Damages on the ʼ016 Patent
                                                                                                                9         Despite forcing PSD to expend resources on the ʼ016 Patent, including an
                                                                                                               10   invalidity expert report, Plaintiffs for the first time in their damages expert report
                                                                                                               11   informed PSD that they were not seeking any damages on the ʼ016 Patent, finally
                         11682 E L C A M I N O R E A L , S U I T E 400
T ROUTMAN S ANDERS LLP




                                                                                                                    acknowledging—as PSD had said all along—that “PSD has not yet sold any products
                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12

                                                                                                               13   accused of infringing the ʼ016 Patent.” D220, 2:1–5. As PSD explained:
                                                                                                               14                . . . [T]he patent that PSD has consistently argued is
                                                                                                                                 figuratively worthless has now been confirmed as literally
                                                                                                               15
                                                                                                                                 worthless. Yet Plaintiffs want to continue litigating the
                                                                                                               16                patent nonetheless, just to force PSD to incur costs.
                                                                                                               17   Id. at 2:11–21 (emphasis added).
                                                                                                               18         B.     The ʼ589 Patent
                                                                                                               19         In addition to the ʼ016 Patent, Plaintiffs also brought suit in the name of
                                                                                                               20   Flowrider, alleging infringement of the ʼ589 Patent. As set out in PSD’s briefing on
                                                                                                               21   its motion to dismiss for lack of standing (D112, D123), Plaintiffs obfuscated
                                                                                                               22   discovery and made material misrepresentations, thereby dragging out an improper
                                                                                                               23   suit brought by an improper entity.
                                                                                                               24                1.    “Whitewater” Represents That All Responsive Documents
                                                                                                                                       Were Produced
                                                                                                               25
                                                                                                                          In a Sept. 2016 Joint Case Management Statement, PSD explained Plaintiffs’
                                                                                                               26
                                                                                                                    recent references to “Whitewater” and its concern that Plaintiffs were playing a
                                                                                                               27
                                                                                                                    corporate shell game:
                                                                                                               28

                                                                                                                                                             -9-                            3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12849 Page 17 of 34



                                                                                                                1                  Plaintiffs recently stated that the dearth of documents is
                                                                                                                2                  because non-party “Whitewater, as an acquiring party, has
                                                                                                                                   few documents related to this issue.” It is unclear why
                                                                                                                3                  Whitewater’s documents are being referenced rather than
                                                                                                                4                  Plaintiffs’ documents, but to the extent Plaintiffs’ lack of
                                                                                                                                   production is based on a corporate shell game, this is
                                                                                                                5                  another issue that will need to be addressed in discovery.
                                                                                                                6   D94, 11:15–19 (emphasis in original). Yet, Plaintiffs represented having “produced
                                                                                                                7   all [responsive] documents in its possession.” Id. at 9:3 (emphasis added).
                                                                                                                8                  2.     Plaintiffs Conceal That Plaintiff Flowrider Ceased to Exist
                                                                                                                                          for Eight Months, Forcing PSD to File a Motion to Dismiss
                                                                                                                9
                                                                                                                             More than a month later on Oct. 28, 2016—after forcing PSD to make
                                                                                                               10
                                                                                                                    additional, repeated demands—Plaintiffs revealed that Plaintiff Flowrider had
                                                                                                               11
                         11682 E L C A M I N O R E A L , S U I T E 400




                                                                                                                    ceased to exist as a functional entity on Feb. 1, 2016. Ex. M. As a result, PSD moved
T ROUTMAN S ANDERS LLP

                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12
                                                                                                                    to dismiss for lack of standing in Nov. 2016. D102. In response, Plaintiffs concocted
                                                                                                               13
                                                                                                                    a new story, devoid of any legal support, this time alleging that Whitewater had been
                                                                                                               14
                                                                                                                    the plaintiff all along and was merely (and improperly) using Flowrider for its
                                                                                                               15
                                                                                                                    “name.” D117, 16:17–19.2 With that new story came a trove of other documents,
                                                                                                               16
                                                                                                                    months after “all” documents had supposedly been produced—including the
                                                                                                               17
                                                                                                                    Intellectual Property Sublicense Agreement used to make Plaintiff’s “party in name
                                                                                                               18
                                                                                                                    only” argument. See Ex. E. The Court based its dismissal of Flowrider’s claim on
                                                                                                               19
                                                                                                                    that Sublicense Agreement, as it showed that on the very same day Flowrider
                                                                                                               20
                                                                                                                    purportedly received rights to the ʼ589 Patent (well before Plaintiffs initiated the
                                                                                                               21
                                                                                                                    lawsuit), it immediately sublicensed all rights to Whitewater. Id.; D222, 15:8–17.
                                                                                                               22
                                                                                                                             Plaintiffs misrepresented ownership and obfuscated resolution of the standing
                                                                                                               23
                                                                                                                    issue on numerous occasions throughout this case, including:
                                                                                                               24
                                                                                                                             • May 12, 2015—Counsel for Plaintiffs, Mr. Squier, contacted counsel in
                                                                                                               25
                                                                                                                               Germany on April 21, 2015 regarding “Whitewater EU IP Matters”,
                                                                                                               26              including the counterpart German Patent, and that German counsel
                                                                                                                               responded on April 24, 2015 stating “please inform us how Whitewater is
                                                                                                               27
                                                                                                                    2
                                                                                                               28       Plaintiffs also filed a motion to substitute parties, forcing PSD to respond. D106.
                                                                                                                                                               - 10 -                          3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12850 Page 18 of 34



                                                                                                                1            involved in these cases since all patents are owned by Mr. Thomas
                                                                                                                2            Lochtefeld or Light Wave, Ltd.” Mr. Squier wrote on May 12, 2015 that
                                                                                                                             “Whitewater has become involved in these cases via an acquisition /
                                                                                                                3            licensing agreement …” (emphasis added) (Ex. N)
                                                                                                                4         • July 15, 2015—Following the discussions with Mr. Squier, German
                                                                                                                5
                                                                                                                            counsel prepared and submitted a petition to reinstate the counterpart
                                                                                                                            German patent for failure to pay maintenance fees including a declaration
                                                                                                                6           by Mr. Kwasnicki (then the VP of Whitewater) stating in relevant part: “I
                                                                                                                7           note that on or about 31 Jan. 2014, an agreement between the Patentee
                                                                                                                            of record of the Patent — Light Wave, Ltd. (hereinafter referred to as
                                                                                                                8           "Light Wave") —and Whitewater transferred beneficial ownership of
                                                                                                                9           the Patent to Whitewater, as well as a large portfolio of intellectual
                                                                                                                            property[1] in various countries…”; .” (emphasis added) (Ex. O)
                                                                                                               10
                                                                                                                          • Aug. 24, 2015—Plaintiffs submitted a pleading identifying the “Intellectual
                                                                                                               11           Property License Agreement” between Flowrider and Surf Park PTE, Ltd.,
                         11682 E L C A M I N O R E A L , S U I T E 400
T ROUTMAN S ANDERS LLP




                                                                                                                            and alleged that based on it, “Plaintiff FlowRider has standing to sue for
                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12
                                                                                                                            infringement of the ʼ589 Patent” (D1), all the while withholding the
                                                                                                               13           Intellectual Property Sublicense Agreement showing that all of Flowrider’s
                                                                                                               14           rights had been transferred to Whitewater;

                                                                                                               15
                                                                                                                          • Dec. 15, 2015—Plaintiffs failed to produce the Intellectual Property
                                                                                                                            Sublicense Agreement with its standing-related documentation pursuant to
                                                                                                               16           Patent L.R. 3.2(d);
                                                                                                               17         • Feb. 3, 2016 (two days after the amalgamation)—Plaintiffs failed to
                                                                                                                            reference the amalgamation in correspondence with PSD concerning PSD’s
                                                                                                               18
                                                                                                                            request for information that should have been produced pursuant to Patent
                                                                                                               19           L.R. 3.2(d) so that PSD could “evaluate whether Plaintiffs have standing to
                                                                                                               20
                                                                                                                            sue,” and instead produced a single license agreement purporting to
                                                                                                                            “evidence FlowRider’s patent rights” (Ex. P);
                                                                                                               21
                                                                                                                          • Mar. 31, 2016 (several weeks after the amalgamation)——Plaintiffs
                                                                                                               22           submitted a petition to reinstate the counterpart U.K. patent for failure to
                                                                                                                            pay maintenance fees including a declaration by Mr. Kwasnicki (then the
                                                                                                               23
                                                                                                                            VP of Whitewater) stating that “the patent was assigned to another
                                                                                                               24           company, Surf Park PTE Ltd which subsequently granted an exclusive
                                                                                                                            license to Flowrider Surf Ltd. Flowrider Surf Ltd then merged with
                                                                                                               25
                                                                                                                    [1]
                                                                                                               26      The IP License Agreement between Surf Park and FSL and the sublicense
                                                                                                                    agreement between FSL and Whitewater (i.e. the only agreement purportedly passing
                                                                                                               27
                                                                                                                    rights in the ’589 patent to Whitewater) include the German, the UK patent, the ’589
                                                                                                               28   Patent, and each agreement was executed on Jan. 31, 2014.
                                                                                                                                                           - 11 -                         3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12851 Page 19 of 34



                                                                                                                1             Whitewater West Industries Ltd. The exclusive licensee of the patent
                                                                                                                2             was thus Whitewater West Industries Ltd (Whitewater) as of the date
                                                                                                                              of the merger.” Whitewater also stated that “[a]n assignment from Light
                                                                                                                3             Wave Ltd to Surf Park PTE Ltd dated 15 Oct. 2012; and an agreement
                                                                                                                4             between Surf Park PTE Ltd and Flowrider Surf Ltd on 31 Jan. 2014 which
                                                                                                                              granted an exclusive license of the patent from Surf Park PTE Ltd to
                                                                                                                5             Flowrider Surf Ltd. Flowrider Surf Ltd then merged on 1, Feb. 2016
                                                                                                                6             with and into Whitewater West Industries Ltd.” (emphasis added) (Ex.
                                                                                                                              Q)
                                                                                                                7
                                                                                                                           • June 30 & Aug. 23, 2016—Plaintiffs submitted sworn interrogatory
                                                                                                                8            verifications on behalf of non-existent Flowrider (Exs. R and S);
                                                                                                                9          • Aug. 29 & Sept. 16, 2016—Plaintiffs submitted sworn declarations from
                                                                                                               10
                                                                                                                             their own witnesses, Andrew Thatcher and Marshall Myrman, who
                                                                                                                             declared under penalty of perjury that they were “currently employed” by
                                                                                                               11            non-existent entity Flowrider (D70-1, D87-8);
                         11682 E L C A M I N O R E A L , S U I T E 400
T ROUTMAN S ANDERS LLP




                                                                                                                           • Sept. 19, 2016—Plaintiffs represented to PSD and this Court that they had
                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12

                                                                                                               13
                                                                                                                             “produced all documents in its possession responsive to PSD’s requests”
                                                                                                                             (D94, 9:3), despite not having produced the IP Sublicense Agreement;
                                                                                                               14
                                                                                                                           • Dec. 5, 2016—Plaintiffs submitted a sworn declaration on behalf of
                                                                                                               15            Thomas Lochtefeld, ʼ589 Patent inventor, who declared that
                                                                                                                             representations and warranties made in multiple license agreements “were
                                                                                                               16
                                                                                                                             inadvertent errors” (D117-3); and
                                                                                                               17
                                                                                                                           • Dec. 12, 2016—Plaintiffs submitted sworn declarations on behalf of
                                                                                                               18            Andrew Thatcher and Marshall Myrman who stated that their sworn
                                                                                                                             statements on Sept. 16 were “inadvertent error[s]” (D126-2; D126-3).
                                                                                                               19
                                                                                                                           • June 11, 2018—Plaintiff submitted a declaration (D258 of FSL Action)
                                                                                                               20
                                                                                                                             that on Aug. 24, 2015 (three months after the May 2015 email to German
                                                                                                               21            counsel), “the only applicable license agreement for the ’589 Patent known
                                                                                                                             to Plaintiffs’ counsel [which includes Mr. Squier] was the Jan. 31, 2014
                                                                                                               22
                                                                                                                             license between Surf Park PTE, Ltd. and Flowrider Surf, Ltd.”
                                                                                                               23
                                                                                                                    In short, throughout this case in dealing with standing and ownership issues and
                                                                                                               24
                                                                                                                    related discovery, Plaintiffs showed a cavalier disregard for the truth and retracted
                                                                                                               25
                                                                                                                    their misrepresentations only when PSD exposed the inconsistencies in their story.
                                                                                                               26
                                                                                                                    III.   LEGAL STANDARD
                                                                                                               27
                                                                                                                           Courts retain jurisdiction after final judgment to decide issues not subject to
                                                                                                               28

                                                                                                                                                            - 12 -                          3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12852 Page 20 of 34



                                                                                                                1   appeal such as attorneys’ fees and costs. Accord Fed. R. Civ. P. 54(d).
                                                                                                                2         A.     Attorneys’ Fees Pursuant to 35 U.S.C. § 285
                                                                                                                3         “The court in exceptional cases may award reasonable attorney fees to the
                                                                                                                4   prevailing party.” 35 U.S.C. § 285. “[T]he aim of § 285 is to compensate a defendant
                                                                                                                5   for attorneys’ fees it should not have been forced to incur.” Kilopass Tech., Inc. v.
                                                                                                                6   Sidense Corp., 738 F.3d 1302, 1313 (Fed. Cir. 2013). “[A]n ‘exceptional’ case is
                                                                                                                7   simply one that stands out from others with respect to the substantive strength of a
                                                                                                                8   party’s litigating position (considering both the governing law and the facts of the
                                                                                                                9   case) or the unreasonable manner in which the case was litigated.” Octane Fitness,
                                                                                                               10   LLC v. ICON Health & Fitness, Inc., 134 S. Ct. 1749, 1756 (2014). “District courts
                                                                                                               11   may determine whether a case is ‘exceptional’ in the case-by-case exercise of their
                         11682 E L C A M I N O R E A L , S U I T E 400
T ROUTMAN S ANDERS LLP

                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12   discretion, considering the totality of the circumstances.” Id. Such circumstances may
                                                                                                               13   include “frivolousness, motivation, objective unreasonableness (both in the factual
                                                                                                               14   and legal components of the case) and the need in particular circumstances to advance
                                                                                                               15   considerations of compensation and deterrence.” Id. at 1756 n.6.
                                                                                                               16         The prevailing party need only show entitlement to attorneys’ fees by a
                                                                                                               17   preponderance. Octane Fitness, 134 S. Ct. at 1758. “Section 285 demands a simple
                                                                                                               18   discretionary inquiry: it imposes no specific evidentiary burden.” Id. PSD is the
                                                                                                               19   prevailing party with regard to the ʼ016 Patent. The Court entered judgment in favor
                                                                                                               20   of PSD finding that “Plaintiff’s [ʼ016] patent is unenforceable and judgment is
                                                                                                               21   entered for Defendant for the entire action.” D240. Plaintiff Surf Waves voluntarily
                                                                                                               22   dismissed its appeal (Fed. Cir. 18-1983; D51), but only after full briefing and the
                                                                                                               23   Federal Circuit’s affirmance of the underlying PTAB decision in PSD’s favor.
                                                                                                               24         B.     Attorneys’ Fees Pursuant to 28 U.S.C. § 1927
                                                                                                               25         The Court may also award fees pursuant to 28 U.S.C. § 1927 when an attorney
                                                                                                               26   “multiplies the proceedings in any case unreasonably and vexatiously.” Sanctions
                                                                                                               27   may be imposed upon “‘a finding of subjective bad faith’ which ‘is present when an
                                                                                                               28   attorney knowingly or recklessly raises a frivolous argument, or argues a meritorious

                                                                                                                                                            - 13 -                            3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12853 Page 21 of 34



                                                                                                                1   claim for the purpose of harassing an opponent.’” Digital Empire Ltd. v. Compal
                                                                                                                2   Elecs. Inc. Grp., No. 14cv1688-DMS-KSC, 2015 WL 11570939, at *8 (S.D. Cal.
                                                                                                                3   Dec. 11, 2015), recon. denied, 2016 WL 4385190 (S.D. Cal. Mar. 1, 2016) (quoting
                                                                                                                4   B.K.B. v. Maui Police Dep’t, 276 F.3d 1091, 1107 (9th Cir. 2002)). “Recklessness
                                                                                                                5   suffices for § 1927 sanctions.” Lahiri v. Universal Music & Video Distrib. Corp., 606
                                                                                                                6   F.3d 1216, 1219 (9th Cir. 2010).
                                                                                                                7         C.    Court’s Inherent Powers to Sanction Misconduct
                                                                                                                8         The Court may also award attorneys’ fees and costs that may not otherwise be
                                                                                                                9   available under §§ 285 and 1927—such as expert witness fees— pursuant to its
                                                                                                               10   inherent authority. Fink v. Gomez, 239 F.3d 989, 992 (9th Cir. 2001) (stating that
                                                                                                               11   courts have the inherent power to “levy sanctions, including attorneys’ fees, for
                         11682 E L C A M I N O R E A L , S U I T E 400
T ROUTMAN S ANDERS LLP

                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12   willful disobedience of a court order . . . or when the losing party has acted in bad
                                                                                                               13   faith, vexatiously, wantonly, or for oppressive reasons.”); Amsted Indus. v. Buckeye
                                                                                                               14   Steel Castings Co., 23 F.3d 374, 378 (Fed. Cir. 1994) (an award of expert fees is
                                                                                                               15   proper upon a “finding of fraud or abuse of the judicial process.”). Such an award is
                                                                                                               16   proper “where the district court makes a ‘finding of fraud or bad faith whereby the
                                                                                                               17   very temple of justice has been defiled’”. MarcTec, LLC v. Johnson & Johnson, 664
                                                                                                               18   F.3d 907, 921 (Fed. Cir. 2012). Even where a litigant’s conduct does not “amount to
                                                                                                               19   fraud, courts may use sanctions in cases involving bad faith that cannot be otherwise
                                                                                                               20   reached by rules or statutes.” Takeda Chem. Indus. v. Mylan Labs., 549 F.3d 1381,
                                                                                                               21   1391 (Fed. Cir. 2008). Bad faith must be found where an attorney “knowingly or
                                                                                                               22   recklessly raises a frivolous argument, or argues a meritorious claim for the purpose
                                                                                                               23   of harassing an opponent.” Carlock v. Collins Motor Co., No. 04cv0370-J-RBB,
                                                                                                               24   2008 WL 943037, at *2 (S.D. Cal. Apr. 7, 2008) (quoting Primus Auto Fin. Servs. v.
                                                                                                               25   Batarse, 115 F.3d 644, 649 (9th Cir. 1997)).
                                                                                                               26   IV.   ARGUMENT
                                                                                                               27         Plaintiff’s bad faith litigation tactics—filing and maintaining frivolous ’016
                                                                                                               28   patent claims, and concealing Plaintiff Flowrider’s amalgamation and lack of ’589

                                                                                                                                                            - 14 -                         3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12854 Page 22 of 34



                                                                                                                1   patent standing—are plainly exceptional and sanctionable. Accordingly, PSD is
                                                                                                                2   entitled to its reasonable attorneys’ fees expended in addressing the ʼ016 Patent
                                                                                                                3   pursuant to 35 U.S.C. § 285, its reasonable attorneys’ fees expended in addressing
                                                                                                                4   the ʼ589 Patent pursuant to 28 U.S.C. § 1927, and its attorneys’ fees, expert fees, and
                                                                                                                5   non-taxable costs for this action pursuant to the Court’s inherent authority.
                                                                                                                6         A.     PSD Should Be Awarded Its Fees Related to Plaintiffs’
                                                                                                                                 Exceptionally Weak ʼ016 Patent Claim Under 35 U.S.C. § 285
                                                                                                                7
                                                                                                                          Plaintiffs’ case with respect to the ʼ016 Patent underscores their exceptionally
                                                                                                                8
                                                                                                                    weak positions and sanctionable behavior warranting fees under § 285. Courts need
                                                                                                                9
                                                                                                                    only find either a lack of “substantive strength of a party’s litigating position” or the
                                                                                                               10
                                                                                                                    “unreasonable manner in which the case was litigated” to deem a case “exceptional.”
                                                                                                               11
                                                                                                                    Octane Fitness, 134 S. Ct. at 1756. Here, both grounds are met.
                         11682 E L C A M I N O R E A L , S U I T E 400
T ROUTMAN S ANDERS LLP

                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12
                                                                                                                                 1.     Plaintiffs’ Position Was Exceptionally Weak
                                                                                                               13
                                                                                                                          Courts often find that plaintiff patentees’ cases are exceptionally weak when
                                                                                                               14
                                                                                                                    their patents have been invalidated. See, e.g., Inventor Holdings, LLC v. Bed Bath &
                                                                                                               15
                                                                                                                    Beyond, Inc., 876 F.3d 1372 (Fed. Cir. 2017) (affirming award of fees after asserted
                                                                                                               16
                                                                                                                    patent invalidated). The presumption that a patent is valid does not excuse Plaintiffs
                                                                                                               17
                                                                                                                    from their obligation to investigate the weaknesses in their case. As set forth above,
                                                                                                               18
                                                                                                                    Plaintiffs’ assertion of the ʼ016 Patent was objectively unreasonable and frivolous
                                                                                                               19
                                                                                                                    from the start given that it was invalidated in view of Plaintiffs’ own licensed patents
                                                                                                               20
                                                                                                                    and related infringement theories.
                                                                                                               21
                                                                                                                          Plaintiffs were aware of the ʼ589 Patent from the outset of the case, and
                                                                                                               22
                                                                                                                    undoubtedly were also aware of the other two patents used to invalidate the ʼ016
                                                                                                               23
                                                                                                                    Patent given that they were purportedly licensed to Plaintiff Flowrider in the same
                                                                                                               24
                                                                                                                    agreement. Ex. E, 214. See Raymond v. Blair, No. 09-5507, 2012 WL 1135911, at
                                                                                                               25
                                                                                                                    *4 (E.D. La. Apr. 4, 2012) (awarding fees where plaintiffs “knew or should have
                                                                                                               26
                                                                                                                    known from the inception of this litigation that the patent was invalid.”).
                                                                                                               27
                                                                                                                          Despite Plaintiffs’ awareness of invalidating prior art (at least the ʼ589 Patent,
                                                                                                               28

                                                                                                                                                              - 15 -                          3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12855 Page 23 of 34



                                                                                                                1   below left), they raised overbroad infringement theories, including theories stating
                                                                                                                2   that Plaintiff’s Supertube (below right) included “opposite” first and second curved
                                                                                                                3   sidewalls extending substantially upwardly from edges of a middle section.
                                                                                                                4

                                                                                                                5

                                                                                                                6

                                                                                                                7

                                                                                                                8
                                                                                                                9

                                                                                                               10
                                                                                                                          ʼ589 Patent, Fig. 4A                       PSD’s Supertube (Ex. A, 13)
                                                                                                               11
                         11682 E L C A M I N O R E A L , S U I T E 400
T ROUTMAN S ANDERS LLP




                                                                                                                    Even if they did not initially understand the invalidating import of their broad
                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12

                                                                                                               13   infringement contentions, they should have by the time PSD served its invalidity
                                                                                                               14   contentions in Feb. 2016, which identified how the ʼ589 Patent purportedly assigned
                                                                                                               15   to Plaintiff Flowrider invalidated the ʼ016 Patent claims. Ex. B.
                                                                                                               16         Nonetheless, Plaintiffs posited broad claim constructions (tracking their broad
                                                                                                               17   infringement contentions) that any reasonable attorney would have realized read on
                                                                                                               18   the prior art. See Tech. Props. Ltd. LLC v. Canon Inc., No. C 14-3640 CW, 2017 WL
                                                                                                               19   2537286, at *2 (N.D. Cal. Jan. 26, 2017) (holding that “[t]he merits of Plaintiffs’
                                                                                                               20   lawsuit were exceptionally weak” in part because “Plaintiffs’ infringement theory
                                                                                                               21   essentially lay claim to prior art.”) (emphasis added). Nothing better evidences
                                                                                                               22   Plaintiffs’ own realization that their proposed claim constructions were unreasonably
                                                                                                               23   broad than the fact that they offered narrower constructions before the PTAB, which
                                                                                                               24   applied a “broadest reasonable interpretation” standard.
                                                                                                               25         Moreover, Plaintiffs’ conduct was sanctionable because they attempted to
                                                                                                               26   frustrate PSD’s mitigation efforts. Although Plaintiffs’ unreasonable contentions
                                                                                                               27   forced PSD to prepare its IPR petition, even after doing so, PSD attempted to reach
                                                                                                               28   resolution and avoid incurring additional costs by sending the draft petition to

                                                                                                                                                            - 16 -                         3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12856 Page 24 of 34



                                                                                                                1   Plaintiffs’ counsel and asking them to drop the ʼ016 Patent. Ex. J. PSD made
                                                                                                                2   another attempt several months later in April 2017, but Plaintiffs once again refused.
                                                                                                                3   Ex. T, 579; Ex. U, 584. See Raymond, 2012 WL 1135911, at *4 (awarding fees where
                                                                                                                4   plaintiffs continued to litigate claims despite the fact that they knew or should have
                                                                                                                5   known that its validity theories were unreasonable based on prior art).
                                                                                                                6         Plaintiffs refused to discuss the merits because their position was meritless and
                                                                                                                7   thus, frivolous. Plaintiff Surf Waves confirmed this fact by taking positions
                                                                                                                8   diametrically opposed to its own infringement and claim construction arguments. See
                                                                                                                9   Oplus Techs., Ltd. v. Vizio, Inc., 782 F.3d 1371, 1374–76 (Fed. Cir. 2015) (reversing
                                                                                                               10   denial of fees under §§ 285 and 1927, and court’s inherent power where plaintiff’s
                                                                                                               11   “litigation positions . . . were a constantly moving target, ‘a frustrating game of
                         11682 E L C A M I N O R E A L , S U I T E 400
T ROUTMAN S ANDERS LLP

                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12   Whac-A[-]Mole throughout the litigation’”). As detailed in § II.A.2, examples of
                                                                                                               13   Plaintiff Surf Waves’ and/or its expert’s inconsistent IPR allegations include that:
                                                                                                               14         1) beyond being traversable, the ʼ016 Patent sidewalls had to extend upward
                                                                                                                             from all points on an edge (Ex. G, 20:5–10 & 26:1–6), despite previously
                                                                                                               15
                                                                                                                             representing that the sidewalls had “[n]o other limitations” (D39, 18:22–
                                                                                                               16            26), and the Court’s admonishment that “the edges are not strictly defined”
                                                                                                                             (D88, 13:21–23);
                                                                                                               17
                                                                                                                          2) the claimed sidewalls had to extend along the entirety of the edge (Ex. G,
                                                                                                               18            27:19–28:2), despite previously arguing against that very same
                                                                                                               19            construction (Ex. C, 44:5–24); and
                                                                                                               20         3) the ʼ589 Patent does not show “opposite” sidewalls (Ex. H, 91:16–22),
                                                                                                                             despite Plaintiffs’ infringement contentions concerning PSD’s Supertube
                                                                                                               21            product (Ex. A, 13).
                                                                                                               22
                                                                                                                          The PTAB ultimately agreed with PSD, invalidating all asserted claims in Jan.
                                                                                                               23
                                                                                                                    2018, and confirming PSD’s contention from the outset:
                                                                                                               24
                                                                                                                                 Plaintiffs … egregious infringement positions, attempting
                                                                                                               25                to contort the patents into something resembling what PSD
                                                                                                                                 sells. In the process, Plaintiffs set forth overly broad
                                                                                                               26
                                                                                                                                 claim construction positions to a degree that—if their
                                                                                                               27                constructions are meritorious—their own patents and
                                                                                                                                 other prior art invalidate those claims.
                                                                                                               28

                                                                                                                                                            - 17 -                            3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12857 Page 25 of 34



                                                                                                                1   D73, 5:13–6:3 (emphasis added). The PTAB’s Final Decision—affirmed by the
                                                                                                                2   Federal Circuit—confirms that Plaintiffs’ litigation positions regarding the ʼ016
                                                                                                                3   Patent were exceptionally weak, and that Plaintiffs’ case was frivolous in view of the
                                                                                                                4   prior art. Beckman Instruments, Inc. v. LKB Produkter AB, 892 F.2d 1547, 1551 (Fed.
                                                                                                                5   Cir. 1989) (holding that an exceptional case finding can be based on a frivolous suit).
                                                                                                                6   Plaintiffs implicitly agreed, since they abandoned their IPR arguments in favor of
                                                                                                                7   completely new (but waived) arguments in futilely appealing the PTAB’s decision.
                                                                                                                8                 2.     Plaintiffs Litigated This Case in an Unreasonable Manner
                                                                                                                9          In addition to their disregard of the merits, Plaintiffs litigated the ʼ016 Patent
                                                                                                               10   case in an unreasonable manner. PSD repeatedly pointed to its low number of
                                                                                                               11   actionable U.S. sales to explain that potential damages were minimal. See D64, 2:3–
                         11682 E L C A M I N O R E A L , S U I T E 400
T ROUTMAN S ANDERS LLP

                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12   11 (“… PSD has made a single U.S. sale in its existence, for a sum that constitutes a
                                                                                                               13   fraction of what it will cost to continue litigating this case. Plaintiffs are plainly using
                                                                                                               14   this litigation to exert settlement pressure on a small, two-person company.”); Ex. J.
                                                                                                               15          But Plaintiffs continued to push a meritless case with regard to the ʼ016 Patent
                                                                                                               16   to drive up PSD’s cost of litigation and exert settlement pressure. Despite PSD’s July
                                                                                                               17   2016 invitation to discuss the ʼ016 Patent on the merits, Plaintiffs never did so. Ex. K,
                                                                                                               18   575. Instead, they opposed both PSD’s motions to stay. D70, D174. As a result, PSD
                                                                                                               19   was forced to engage in needless discovery concerning the ʼ016 Patent, including
                                                                                                               20   depositions, documents, and written discovery.
                                                                                                               21          Particularly egregious and unreasonable was Plaintiffs’ decision to wait until
                                                                                                               22   the eleventh hour (expert reports)—over 20 months after bringing suit—before
                                                                                                               23   revealing that they were not claiming any damages relating to the ʼ016 Patent.
                                                                                                               24   D220. Accordingly, Plaintiffs forced PSD to engage unnecessarily in fact discovery
                                                                                                               25   and expert reports related to the ʼ016 Patent.
                                                                                                               26          Plaintiffs’ tactics confirm their unreasonableness and bad faith, thereby
                                                                                                               27   warranting sanctions. See Kilopass Tech. Inc. v. Sidense Corp., No. C 10-02066 SI,
                                                                                                               28   2014 WL 3956703, at *14 (N.D. Cal. Aug. 12, 2014) (granting fees for “failing to

                                                                                                                                                               - 18 -                            3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12858 Page 26 of 34



                                                                                                                1   conduct an adequate pre-filing investigation, shifting its theories of infringement late
                                                                                                                2   in the litigation . . ., and engaging in conduct that at times amounted to
                                                                                                                3   gamesmanship”). Far beyond simply losing the IPR and having the patent
                                                                                                                4   invalidated, both the frivolous nature of asserting an obviously invalid patent and the
                                                                                                                5   contradictory positions taken in this litigation and the IPR as well as Plaintiffs’
                                                                                                                6   deliberate delay in withdrawing meritless arguments and informing PSD that it
                                                                                                                7   sought no damages that qualify this case as exceptional.
                                                                                                                8         B.     Plaintiffs and Their Counsel Acted in Bad Faith with Regard to
                                                                                                                                 the ʼ589 Patent, so PSD Should Be Awarded Its Fees Under 28
                                                                                                                9                U.S.C. § 1927
                                                                                                               10         PSD seeks its attorneys’ fees related to the ʼ589 Patent from Plaintiffs and their
                                                                                                               11   counsel pursuant to 28 U.S.C. § 1927, because Plaintiffs’ attempt to obfuscate the
                         11682 E L C A M I N O R E A L , S U I T E 400
T ROUTMAN S ANDERS LLP




                                                                                                                    standing issue followed by their frivolous standing arguments “multiplie[d] the
                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12

                                                                                                               13   proceedings . . . unreasonably and vexatiously.” 3 Plaintiffs knew or should have
                                                                                                               14   known that Plaintiff Flowrider lacked standing to bring suit from the very beginning
                                                                                                               15   of the case, if not before. Plaintiffs’ affirmative misrepresentations and omissions
                                                                                                               16   regarding standing are “plainly sanctionable.” Schreiber Foods, Inc. v. Beatrice
                                                                                                               17   Cheese, Inc., 402 F.3d 1198, 1205 (Fed. Cir. 2005) (citing counsel’s failure to
                                                                                                               18   promptly correct false statements in pleadings as sanctionable conduct).
                                                                                                               19         The Court determined that Plaintiff Flowrider lacked standing to assert the
                                                                                                               20   ʼ589 Patent due to a Jan. 2014 IP Sublicense Agreement—prior to the Complaint—
                                                                                                               21   that transferred Plaintiff Flowrider’s purported ’589 Patent rights to Whitewater on
                                                                                                               22   the exact same day that Flowrider received them. D222, 15:8–17. Plaintiffs’ choice
                                                                                                               23   to produce the License Agreement showing Flowrider received rights while at the
                                                                                                               24   same time withholding the Sublicense Agreement showing Flowrider gave those
                                                                                                               25
                                                                                                                    3
                                                                                                               26    Courts in this District have found that prevailing on a motion to dismiss for lack of
                                                                                                                    subject matter jurisdiction does not entitle movant to “prevailing party” status
                                                                                                               27
                                                                                                                    pursuant to 35 U.S.C. § 285. See SPH Am., LLC v. AT&T Mobility LLC, No. 3:13-
                                                                                                               28   cv-2318-CAB-KSC, 2017 WL 3021025, at *9–10 (S.D. Cal. July 14, 2017).
                                                                                                                                                             - 19 -                          3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12859 Page 27 of 34



                                                                                                                1   rights away on the same day cannot reasonably be interpreted as anything but a
                                                                                                                2   deliberate attempt to mislead PSD and the Court as to standing. At the very least,
                                                                                                                3   Plaintiffs’ and their counsel’s failure to consider the Sublicense Agreement’s impact
                                                                                                                4   on standing or to disclose it point to recklessness and bad faith warranting sanctions.
                                                                                                                5   See Digital Empire, 2015 WL 11570939, at *8 (awarding fees pursuant to 28 U.S.C.
                                                                                                                6   § 1927 where “Plaintiff’s pre-filing investigation was inadequate.”); Fagundes v.
                                                                                                                7   Charter Builders, Inc., No. C 07-1111, 2008 WL 268977, at *4 (N.D. Cal. Jan. 29,
                                                                                                                8   2008) (imposing sanctions pursuant to 28 U.S.C. § 1927 and the Court’s inherent
                                                                                                                9   authority because counsel’s failure to produce a document forced defendant “to
                                                                                                               10   relitigate an issue that easily could have been resolved”); Deep Sky Software, Inc. v.
                                                                                                               11   Southwest Airlines Co., No. 10-cv-1234-CAB-KSC, 2015 WL 11202634, at *4 (S.D.
                         11682 E L C A M I N O R E A L , S U I T E 400
T ROUTMAN S ANDERS LLP




                                                                                                                    Cal. June 1, 2015) (awarding sanctions because plaintiff’s “failure to identify [a
                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12

                                                                                                               13   document] and produce it violated the good faith requirements of the local patent
                                                                                                               14   rule. Early disclosure of this reference in accordance with the rules could have
                                                                                                               15   substantially impacted and shortened the litigation . . .”).
                                                                                                               16         Plaintiffs’ counsel previously sought to excuse its behavior by claiming they
                                                                                                               17   were not aware of the Sublicense Agreement until mid-Oct. 2016. That argument
                                                                                                               18   contradicts various other statements Plaintiffs’ counsel has already made. In
                                                                                                               19   opposing PSD’s motion to dismiss for lack of standing, Plaintiffs argued Whitewater
                                                                                                               20   was always involved and suing in the name of Plaintiff Flowrider from the Aug. 2015
                                                                                                               21   start of the case because the Sublicense Agreement required them to do so. D117,
                                                                                                               22   6:9–11 (citing § 5.3 of the Sublicense Agreement); D222, 18:16–19:19. That position
                                                                                                               23   cannot be squared with Plaintiff’s counsels’ relatively new claim that they
                                                                                                               24   supposedly were not aware of the very same agreement until over a year later. It
                                                                                                               25   also strains credulity that Plaintiffs’ counsel—the same counsel that prepared a “Case
                                                                                                               26   Strategy Memorandum,” a “bound volume including more than 80 pages of analysis
                                                                                                               27   and 14 exhibits”—was aware of the Jan. 31, 2014 license agreement that purportedly
                                                                                                               28   gave Plaintiff Flowrider standing, but was not aware of the Sublicense (giving

                                                                                                                                                              - 20 -                        3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12860 Page 28 of 34



                                                                                                                1   Flowrider’s rights to Whitewater) executed on the exact same day by the exact same
                                                                                                                2   person (Mr. Geoff Chutter) for each party, and prepared by the same law firm.
                                                                                                                3         Such frivolous and internally inconsistent arguments are also sanctionable
                                                                                                                4   under § 1927. See Phonometrics, Inc. v. Westin Hotel Co., 350 F.3d 1242, 1248 (Fed.
                                                                                                                5   Cir. 2003) (“a determination of bad faith is warranted where an attorney knowingly
                                                                                                                6   or recklessly pursues a frivolous claim”) (internal quotation omitted). The measures
                                                                                                                7   Plaintiffs and their counsel took to conceal Plaintiff Flowrider’s Feb. 1, 2016
                                                                                                                8   amalgamation also exemplify bad faith. Rather than informing PSD, Plaintiffs
                                                                                                                9   intentionally obfuscated the point, submitting sworn interrogatory verifications and
                                                                                                               10   declarations on behalf of individuals “currently employed” by a non-existent entity.
                                                                                                               11   See § II.B.2. Plaintiffs then attempted to avoid producing any documents revealing
                         11682 E L C A M I N O R E A L , S U I T E 400
T ROUTMAN S ANDERS LLP

                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12   Flowrider’s lack of patent rights by falsely telling the Court and PSD that all
                                                                                                               13   documents had been produced. Id.
                                                                                                               14         At a minimum, as early as May 12, 2015 Plaintiff’s counsel was aware of the
                                                                                                               15   sublicense agreement 4 and mere weeks after amalgamation on Mar. 31, 2016,
                                                                                                               16   Plaintiffs submitted a petition to reinstate the counterpart U.K. patent for failure to
                                                                                                               17   pay maintenance fees declaring that “Flowrider Surf Ltd [] merged on 1, Feb. 2016
                                                                                                               18   with and into Whitewater West Industries Ltd.” (Ex. Q). Accordingly, these facts
                                                                                                               19   belie Plaintiffs’ claim that counsel was not actually aware of the IP sublicense
                                                                                                               20   agreement or amalgamation until Oct. 2016.
                                                                                                               21         Plaintiffs’ conduct is analogous to that in Schreiber Foods—which Plaintiffs
                                                                                                               22   cited in opposing PSD’s motion to dismiss. In Schreiber Foods, the plaintiff patentee
                                                                                                               23   failed to inform the defendant or the court that it had assigned away the asserted
                                                                                                               24   patent to another entity during litigation, thereby losing standing. 402 F.3d at 1200.
                                                                                                               25   4
                                                                                                                      For example, Plaintiff’s counsel wrote in an email on May 12, 2015 that
                                                                                                               26   “Whitewater has become involved in these cases [including the ‘589 Patent] via an
                                                                                                                    acquisition / licensing agreement” (Ex. N), and the only applicable agreement
                                                                                                               27
                                                                                                                    purportedly conferring such rights in Whitewater is the Intellectual Property
                                                                                                               28   Sublicense Agreement Ex. E.
                                                                                                                                                             - 21 -                          3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12861 Page 29 of 34



                                                                                                                1   Plaintiff’s counsel learned of the assignment after the trial and favorable jury verdict,
                                                                                                                2   but also did not disclose the assignment. Id. at 1201. The Court found that the conduct
                                                                                                                3   of both was sanctionable:
                                                                                                                4                [T]he conduct of Schreiber and its counsel after Sept. 1998,
                                                                                                                                 when counsel became aware of the assignment of the ‘860
                                                                                                                5
                                                                                                                                 patent, was plainly sanctionable. Once counsel became
                                                                                                                6                aware that highly material false statements had been
                                                                                                                                 made by a witness, in pleading submitted to the court and
                                                                                                                7
                                                                                                                                 in response to discovery requests, and that highly
                                                                                                                8                material documents had not been produced as required,
                                                                                                                                 Schreiber and its counsel were under an obligation to
                                                                                                                9
                                                                                                                                 promptly correct the record.
                                                                                                               10   Id. at 1205 (emphasis added). See also Sub Zero Franchising, Inc. v. Frank NYE
                                                                                                               11   Consulting, LLC, No. 2:15-cv-821-BSJ, 2018 WL 1999093, at *2–3 (D. Ut. Apr. 27,
                         11682 E L C A M I N O R E A L , S U I T E 400
T ROUTMAN S ANDERS LLP

                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12   2018) (awarding sanctions under § 1927 because counsel “improperly withheld the
                                                                                                               13   purported assignment documents” that “show [plaintiff’s] lack of standing to assert
                                                                                                               14   the claim for infringement of the [patent]” and “[s]uch documents were subject to
                                                                                                               15   mandatory disclosure . . . and were improperly withheld [for a year].”)
                                                                                                               16         As in Schreiber Foods, Plaintiffs’ and their counsel’s deliberate concealment
                                                                                                               17   of facts showing Flowrider’s lack of standing dragged out this action and forced PSD
                                                                                                               18   to incur significant additional expenses in numerous ways, including briefing on
                                                                                                               19   PSD’s motion to dismiss and opposing Whitewater’s motion to substitute,
                                                                                                               20   depositions, and additional time and effort in terms of correspondence and meet and
                                                                                                               21   confers to get to the bottom of Plaintiffs’ falsehoods and misrepresentations
                                                                                                               22   regarding their document production. This is precisely the type of “unreasonabl[e]
                                                                                                               23   and vexatious[]” “multipl[ying of] the proceedings” that § 1927 is intended to deter.
                                                                                                               24   See also 10 C. Wright et al., FEDERAL PRACTICE AND PROCEDURE, § 2670 (3d ed.
                                                                                                               25   2015) (explaining the purpose of § 1927 is “to place directly on attorneys a sanction
                                                                                                               26   that should encourage them to refrain from the frivolous, to weigh considerations of
                                                                                                               27   relevancy and privilege carefully when participating in discovery proceedings, and
                                                                                                               28

                                                                                                                                                              - 22 -                          3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12862 Page 30 of 34



                                                                                                                1   to advise their clients in accordance with their best legal judgment rather than in terms
                                                                                                                2   of securing tactical advantage through the manipulation of the process.”).
                                                                                                                3   Accordingly, the Court should award fees related to the ʼ589 Patent under § 1927.
                                                                                                                4         C.     The Court Should Exercise Its Inherent Power to Award PSD Its
                                                                                                                                 Attorneys’ Fees, Expert Fees, and Non-Taxable Costs
                                                                                                                5
                                                                                                                          Consistent with Federal Circuit case law, this Court can and should award PSD
                                                                                                                6
                                                                                                                    its attorneys’ fees, including expert fees and non-taxable costs pursuant to the Court’s
                                                                                                                7
                                                                                                                    inherent authority. See MarcTec, 664 F.3d at 921. Plaintiffs’ bad faith is evidenced
                                                                                                                8
                                                                                                                    by the overwhelming misconduct described above. See Digital Empire, 2015 WL
                                                                                                                9
                                                                                                                    11570939, at *8 n.7 (finding that the same conduct warranting fees under §§ 285 and
                                                                                                               10
                                                                                                                    1927 also warranted sanctions under the court’s inherent power).
                                                                                                               11
                                                                                                                          In MarcTec, the Federal Circuit affirmed an award of expert fees where
                         11682 E L C A M I N O R E A L , S U I T E 400
T ROUTMAN S ANDERS LLP

                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12
                                                                                                                    defendant “was forced to incur witness expenses” and “the amount [defendant] was
                                                                                                               13
                                                                                                                    required to expend on experts was not compensable under § 285.” MarcTec, 664 F.3d
                                                                                                               14
                                                                                                                    at 921. Similarly, PSD was forced to incur significant expense to hire experts to rebut
                                                                                                               15
                                                                                                                    Plaintiffs’ arguments about the invalid ʼ016 Patent, despite the fact that Plaintiffs
                                                                                                               16
                                                                                                                    apparently were not claiming any damages related it. Consequently, the Court should
                                                                                                               17
                                                                                                                    invoke its inherent authority to sanction Plaintiffs—and make PSD whole—for the
                                                                                                               18
                                                                                                                    full amounts of its attorneys’ fees, including expert fees and non-taxable costs.
                                                                                                               19
                                                                                                                          D.     PSD Is Reasonably Entitled to an Award of All of Its Fees
                                                                                                               20                Expended in This Case, Including the IPR and Related Appeal
                                                                                                               21         An award for the full amount of PSD’s attorneys’ fees is warranted here. The
                                                                                                               22   Federal Circuit has explained that “a case should be viewed more as an ‘inclusive
                                                                                                               23   whole’ rather than as a piecemeal process” when awarding fees. Therasense, Inc. v.
                                                                                                               24   Becton, Dickenson & Co., 745 F.3d 513, 516 (Fed. Cir. 2014) (citation omitted).
                                                                                                               25   Consequently, courts have the power to award fees “for the entire case, including any
                                                                                                               26   subsequent appeals,” rather than only for particular phases of litigation. Id. at 517.
                                                                                                               27         Courts routinely exercise this power to award full fees in cases where, as here,
                                                                                                               28   one party advances claims that it knows to be baseless. For example, in Drone Techs.,

                                                                                                                                                              - 23 -                          3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12863 Page 31 of 34



                                                                                                                1   Inc. v. Parrot S.A., the court awarded fees covering “all stages of the litigation”
                                                                                                                2   because the defendant had “advanced presumably false positions,” “engaged in
                                                                                                                3   tactical and pervasive defiance of the Court,” and lost. No. 2:14-cv-00111-AJS, 2015
                                                                                                                4   WL 4545291, at *3 (W.D. Pa. July 21, 2015). Similarly, in Kilopass Tech., Inc. v.
                                                                                                                5   Sidense Corp., the court awarded defendant its full fees because the plaintiff had
                                                                                                                6   engaged in litigation misconduct and lost on all of its claims of infringement, which
                                                                                                                7   the court deemed “objectively baseless.” 82 F. Supp. 3d 1154, 1166 (N.D. Cal. 2015).
                                                                                                                8         In particular, in addition to its fees and non-taxable costs spent on the litigation
                                                                                                                9   itself, PSD should be awarded its fees and non-taxable costs incurred in the inter
                                                                                                               10   partes review proceeding on the ʼ016 Patent. Judge Bencivengo in this District
                                                                                                               11   previously determined that such fees are recoverable in Deep Sky Software, Inc. v.
                         11682 E L C A M I N O R E A L , S U I T E 400
T ROUTMAN S ANDERS LLP

                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12   Southwest Airlines Co., No. 3:10-cv-1234-CAB-KSC, 2015 WL 10844231, at *2–3
                                                                                                               13   (S.D. Cal. Aug. 19, 2015). In awarding defendant’s fees for an inter partes
                                                                                                               14   reexamination, Judge Bencivengo explained:
                                                                                                               15                [T]he legal services counsel performed for defendant
                                                                                                                                 during reexamination of the ʼ770 Patent were related to this
                                                                                                               16
                                                                                                                                 suit. Reexamination was initiated during and in reaction to
                                                                                                               17                plaintiff’s action here. Further, the PTO’s cancellation of
                                                                                                                                 the asserted ʼ770 Patent claims on grounds of invalidity
                                                                                                               18
                                                                                                                                 disposed of plaintiff’s complaint here and made defendant
                                                                                                               19                the prevailing party. . . . Thus, under the unique
                                                                                                                                 circumstances of this case, defendant may recover fees for
                                                                                                               20
                                                                                                                                 the reexamination proceedings.
                                                                                                               21

                                                                                                               22
                                                                                                                    Id. at *2 (internal citations omitted). The same circumstances exist here as PSD’s

                                                                                                               23
                                                                                                                    inter partes review was initiated in a similar time frame to the reexamination request

                                                                                                               24
                                                                                                                    in Deep Sky, was “related to this suit,” was “initiated during and in reaction to

                                                                                                               25
                                                                                                                    plaintiff’s action here,” and “disposed of plaintiff’s complaint here and made

                                                                                                               26
                                                                                                                    defendant the prevailing party.” Id. Indeed, by petitioning for the IPR and promptly

                                                                                                               27
                                                                                                                    seeking to stay the portion of this litigation related to the ’016 patent, PSD did all it

                                                                                                               28
                                                                                                                    reasonably could have to avoid wasting not only its own resources, but also Plaintiffs’

                                                                                                                                                              - 24 -                           3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12864 Page 32 of 34



                                                                                                                1   and this Court’s.
                                                                                                                2         Even beyond the Board’s final written decision, Surf Waves filed an appeal
                                                                                                                3   from this Court’s entry of judgment which it ultimately dismissed, but not until after
                                                                                                                4   PSD had to brief the appeal and prepare for oral argument. Through this motion, PSD
                                                                                                                5   seeks its fees for that appeal because Plaintiffs should have known that its related
                                                                                                                6   appeal from the PTAB (on which the district court appeal entirely depended) was
                                                                                                                7   completely meritless and based solely on new arguments that were waived.(18-1680
                                                                                                                8   D34 at 12–17, 19–31). The CAFC’s summary affirmance confirms that there was no
                                                                                                                9   merit to Plaintiffs’ appeal from the PTAB, and they subsequently dismissed their
                                                                                                               10   appeal from this Court’s judgment.
                                                                                                               11         PSD’s request for fees and costs incurred in this litigation, as well as in the
                         11682 E L C A M I N O R E A L , S U I T E 400
T ROUTMAN S ANDERS LLP




                                                                                                                    related IPR for the ’016 patent and the recently dismissed appeal from this Court’s
                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12

                                                                                                               13   judgment (D240, Fed. Cir. Appeal No. 2018-1983), is reasonable. PSD fairly
                                                                                                               14   estimates that such fees amount to $1,987,000, of which $115,000 is attributable to
                                                                                                               15   the appeal and $197,000 to the ‘016 patent IPR. Rather than seeking all of its costs
                                                                                                               16   for these matters, PSD seeks reimbursement of two of the larger cost items—$21,975
                                                                                                               17   in expert expenses and $25,000 in PTAB filing fees for the IPR.5
                                                                                                               18   V.    CONCLUSION
                                                                                                               19         For the foregoing reasons, the Court should award PSD all of its attorneys’
                                                                                                               20   fees, expert fees, and non-taxable costs for this litigation, pursuant to 35 U.S.C.
                                                                                                               21   § 285, 28 U.S.C. § 1927, and the Court’s inherent power.
                                                                                                               22

                                                                                                               23

                                                                                                               24

                                                                                                               25   5
                                                                                                                      “The court may decide issues of liability for fees before receiving submissions on
                                                                                                               26   the value of services.” Fed. R. Civ. P. 54(d)(2)(C). Accordingly, if the Court grants
                                                                                                                    the requested relief, PSD requests that the Court set a briefing schedule so that it may
                                                                                                               27
                                                                                                                    submit evidence regarding the amount and reasonableness of its hourly rates and fees
                                                                                                               28   (per the Lodestar method) to begin 30 days after the Court’s order.
                                                                                                                                                             - 25 -                          3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12865 Page 33 of 34



                                                                                                                1   Dated:     July 15, 2019         Respectfully submitted,
                                                                                                                2                                    TROUTMAN SANDERS LLP
                                                                                                                3

                                                                                                                4                                    By: /s/ Charanjit Brahma
                                                                                                                                                     Charanjit Brahma, CA Bar No. 204771
                                                                                                                5
                                                                                                                                                     charanjit.brahma@troutman.com
                                                                                                                6                                    Mark Mao, CA Bar No. 236165
                                                                                                                                                     mark.mao@troutman.com
                                                                                                                7
                                                                                                                                                     Christopher Franich, CA Bar No. 285720
                                                                                                                8                                    chris.franich@troutman.com
                                                                                                                9
                                                                                                                                                      Attorneys for Defendant Pacific Surf
                                                                                                               10                                     Designs, Inc.
                                                                                                               11
                         11682 E L C A M I N O R E A L , S U I T E 400
T ROUTMAN S ANDERS LLP

                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12

                                                                                                               13

                                                                                                               14

                                                                                                               15

                                                                                                               16

                                                                                                               17

                                                                                                               18

                                                                                                               19

                                                                                                               20

                                                                                                               21

                                                                                                               22

                                                                                                               23

                                                                                                               24

                                                                                                               25

                                                                                                               26
                                                                                                               27

                                                                                                               28

                                                                                                                                                        - 26 -                        3:15-CV-01879
                                                                                                            Case 3:15-cv-01879-BEN-BLM Document 282 Filed 07/15/19 PageID.12866 Page 34 of 34



                                                                                                                1                             CERTIFICATE OF SERVICE
                                                                                                                2
                                                                                                                          The undersigned hereby certifies that a true and correct copy of the above and
                                                                                                                3
                                                                                                                    foregoing document has been served on July 15, 2019, to all counsel of record who
                                                                                                                4
                                                                                                                    are deemed to have consented to electronic service via the Court’s CM/ECF system
                                                                                                                5
                                                                                                                    per Civil Local Rule 5.4. Any counsel of record who have not consented to electronic
                                                                                                                6
                                                                                                                    service through the Court’s CM/ECF system will be served by electronic mail, first
                                                                                                                7
                                                                                                                    class mail, facsimile and/or overnight delivery.
                                                                                                                8
                                                                                                                9

                                                                                                               10
                                                                                                                                                                        /s/ Charanjit Brahma
                                                                                                               11                                                       Charanjit Brahma
                         11682 E L C A M I N O R E A L , S U I T E 400
T ROUTMAN S ANDERS LLP

                                                                         S A N D I E G O , C A 92130-2092




                                                                                                               12

                                                                                                               13

                                                                                                               14

                                                                                                               15

                                                                                                               16

                                                                                                               17

                                                                                                               18

                                                                                                               19

                                                                                                               20

                                                                                                               21

                                                                                                               22

                                                                                                               23

                                                                                                               24

                                                                                                               25

                                                                                                               26
                                                                                                               27

                                                                                                               28

                                                                                                                                                             -1-                          3:15-CV-01879
